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UNITED STATES DISTRICT court WLS

For the District of Kansas APR 13 2015
UNITED STATES OF AMERICA Be Clerk, U.S. District Court
v. Deputy Clerk
v. WARRANT FOR ARREST
ALEXANDER E. BLAIR CASE NUMBER: 15-mj-5040-KGS

To: The Federal Bureau of Investigation (FBI), and any Authorized United States Officer: m~

YOU ARE HEREBY COMMANDED to arrest

ALEXANDER E. BLAIR

Name
and bring him forthwith to the nearest magistrate to answer a(n)
DO Indictment 0 Information X Complaint O Order of court UO Violation Notice DO) Probation Violation Petition

charging him with Misprision of Felony, in violation of Title 18, United States Code, Section 4.

DANIEL D. CRABTREE United States District Judge
Name of Issuing Officer Title of Issuing Officer
Jord Sy. bia le /o Apr] 2015 3:65 pean
Signature of Issuing Officer Date and Location

WV gyn Manet

(By) Deputy @lerk

Bail fixed at $__ Detain by Su SS. dip her

Name of Judicial Officer

RETURN

This warrant was received and executed with the arrest of the above-named defendant at if levidde l } K S

DATE RECEIVED 4 [ia f (S NAME AND TITLE OF ARRESTING OFFICER SIGNATURE OF ARRESTING OFFI

TEFO Gary Smith
DATE OF ARREST 4/)0 [( (5 PBL a

